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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
v.                                              )      Case No. 4:09CR3117
                                                )
TRAVES RUSH,                                    )
                                                )
                           Defendant.           )

                                         ORDER

      THIS MATTER comes before this Court on defendant's Motion to Continue Variance

Brief Deadline, filing 174. The Court finds that said motion should be granted.

      IT IS THEREFORE ORDERED that defendant shall file his brief in support of his

motion for variance no later than Friday, July 23, 2010.

      Dated this 19th day of July, 2010.


                                                BY THE COURT:

                                                s/ Warren K. Urbom
                                                _____________________________
                                                The Honorable Warren K. Urbom
                                                United States Senior District Judge
